Case 3:17-cv-00072-NKM-JCH ! ‘Document 988 Filed 07/02/21 Page 1of3 Pageid#: 16519

Onited, Slates Distt Cows

for Khe DILSHeK Dis} ch, OF Vina

Chart (otfesc,} e OF VESSON
(Cn | Achion M93] rs a= OO8I7 WK,

 

 

Siaes cb af Doindst fs us beskcete) LeRrdaa/

 

 

 

“Delloidand Chitiyell Wel zn Steerer cor

on £ Venu gj Chang G @._- : uk G2 -9093-——

AG. DUDLEY, CLERK ot

Quins Fe_ccany Himins on He Drahihienee
fre OS. Mhatdale, and a Byreau of Boone
IQOULD Prstoco|' cahich coh_only LQ hse /e
1&S SUP iccouS Le _ hes fo ACLe SS Fo &

 

 

telephanr On oak 4 and have rst

 

Iseent oc heard fic Coucty fAvitatior
ICO Pile hriets by Sone 17 Whak

 

 

ng, TD Grow only Hon Plaint pty’

 

mob jan for addi tiane | [AGEs Of) Ve
iSubjet, Whith | lar vi pajet 17
te, ad fecie@uedl OA slesne [|

 

 

Lc Dent Sacer Ey Poblems Lay feS& BP

Arent fe fe. Sante o- Deteie wrt wef

| aces and Lefty dmt jn fhe tity of

Lhe” Chae loffensi le. fen wf fhese theafs
do fee physically wanbe#t fheic aly

‘boo (eal foktr-cel nay pegdpie /y (meg l¢

idurod gid AYN one ple dares pe Speak

 

 

 

lac {uth about hes ratte,

 

 

 

| Ald Comualier the aHetked us have

if aL gel QHY) OWN With Fhe Gigs
Coraneg PAs tttoorps Joe Katana and
Reber Ted Were, S.ogertive and I beake
the bab, Lespecks wel y Lad My, T(AcLe
int Fesloced ps Qa elite I Soros packs Ondidafe

 

 
Case 3:17-cv-00072-NKM-JCH Document 988 Filed 07/02/21 Page 2of3 Pageid#: 16520

he Daily Hogcess £4 hee 2
as Pred oP Oca fron Phe
t tes’ || @ Klee Deo Peo ar Mink pA 204
And Qjven phe _ 2 Politi reo f fies of Flat
Ae Sees fooltth Fo guess 74af
He scenes are iagegtity- “of J Plbagfa

__deagt Leng hal “oxo jAgroved

Last Loc _od [~ ta check, The Reabes
BR WV Shope ed Cennias eand datas fo
Joona: (, TAL Temocat_on/y |
— x fop_ce The poli 104} inl
6+ the Aat ita Leroy Ofer SP
Den ocrefre pea at ot Pnerta,

oe te si & (nto (Nn Chaloe
Slum, Sd-to-Speak ard doef
a ho Duct trd gers fot cEune, for the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

_ Meds of “eb ,_dushic Ue, and Rule oF
ft lor He usin, or Whee fo go
for the Lette es lan F, |
LY Utes beapdlitag a tf Ai A. subtead
teume/ldous |y wher; Deng crag cnet (OF
hoc Stete CsA 5 Thee ed
be Sudsfankal Cho ‘legos (A Hi (25 A

 

: Place [¢S5_ prone ft 50 <a) [led “5 pane
ee dev N_OCA ar —— _ _

 

ie ly Submitted. ——
—S; pagel! % b- (COT)

 

 

 

 

 
Case 3:17-cv-00072-NKM-JCH Document 988 Filed 07/02/21 Page 3of3 Pageid#: 16521

be
sti SEE remain om
SO Aon eee pager mt ~

PF C6GH | S04: ree

USP Iarhonn~ Se 9 2 sam woursmg 6g), Ee
S GO Or (Son ed a wk 28 JUP 2021 pm Gy
>. fo ¥TLEOO mee “

vecwn El BV4S54 a

- Ofpree oF the Cer ke

L.5. pyprict Cou Ler Fhe

Wes Soviet oF UlCs (AG

| tee Di fe OK 7

LSS West Iain Steee+ Room TOF
. Chocle tes lle, VA . T4O4_

 

    

; COS «Meola et pb pppaappageelapy

*
a
‘

NN
